Case 2:25-mJ-00424-DBR Documenti1-1 Filed 04/23/25,..—_PagelID.9 Page 1of1
Sealed

AO 442 (Rev. 01/09) Arrest Warrant Eatheese oe ee F-/)D tH} } 68722

prohibited by court order.

UNITED STATES DISTRICT COURT

for the

Southern District of Texas

United States of America )
Vv. )
) Case No. B-25-CR-257-01
JAMES LAEL JENSEN )
Defendant ) M N
RECD USHS BROWNSVILLE
ARREST WARRANT APR 17 2025 Px3:33
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) JAMES LAEL JENSEN

who is accused of an offense or violation based on the following document filed with the court:

’ Indictment O Superseding Indictment T Information © Superseding Information © Complaint
Probation Violation Petition © Supervised Release Violation Petition Violation Notice © Order of the Court

This offense is briefly described as follows:

SEALED INDICTMENT

y
Date: Apr 17, 2025
Issuing Officer's signature

City and state: Brownsville, Texas Maricela Perez, Deputy Clerk

Printed naine and title

Return

This warrant was received on (date) , and the person was arrested on (date)
at (city and state)

Date:

Arresting officer's signature

Printed name and title

